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 8                            UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
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11   LUIS LORENZO VARGAS,                          CASE NO. CV16-08684 SVW (AFMx)
                                                   Hon. Stephen V. Wilson, Ctrm. 10A
12                                                 Mag. Alexander F. MacKinnon, Ctrm. H, 9th Fl.,
                 Plaintiff,
13                                                 [PROPOSED] ORDER ON
           v.                                      DEFENDANTS’ CITY OF LOS
14                                                 ANGELES’ MOTION FOR PARTIAL
                                                   SUMMARY JUDGMENT OF
15   CITY OF LOS ANGELES; et al.,                  PLAINTIFF’S MUNICIPAL
                                                   LIABILITY CLAIM
16               Defendants.
                                                   DATE: June 10, 2017
17                                                 TIME: 1:30 p.m.
                                                   CTRM: 10A, First Street Courthouse
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19   GOOD CAUSE HAVING BEEN SHOWN,
20        The Court GRANTS Defendants’ motion for partial summary judgment. The
21   Second and Third Claims of Relief in plaintiff’s second amended complaint are hereby
22   ordered dismissed. Defendant Richard Tamez is dismissed with prejudice.
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     IT IS SO ORDERED:
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25 DATED: _________________
26                                       HONORABLE STEPHEN V. WILSON
                                       UNITED STATES DISTRICT COURT JUDGE
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